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 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10

11   VOICE OF SAN DIEGO,                       Case No. '20CV0990 JLS NLS
12                        Plaintiff,           COMPLAINT FOR
                                               DECLARATORY AND
13         vs.                                 INJUNCTIVE RELIEF FOR
                                               VIOLATION OF THE FREEDOM
14 FEDERAL COMMUNICATIONS                      OF INFORMATION ACT, 5 U.S.C.
   COMMISSION; FEDERAL AVIATION                § 552 ET SEQ.
15 ADMINISTRATION; and U.S.
   DEPARTMENT OF
16 TRANSPORTATION,

17                        Defendants.
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 1         Plaintiff VOICE OF SAN DIEGO, a California corporation ("VOSD"), by its
 2   undersigned attorneys, alleges as follows:
 3                                  I.   INTRODUCTION
 4         1.     VOSD brings this action under the Freedom of Information Act, 5
 5   U.S.C. § 552 et seq., as amended ("FOIA"), to enjoin the Federal Communications
 6   Commission (“FCC”), the Federal Aviation Administration (“FAA”), and the U.S.
 7   Department of Transportation (“DOT”) from continuing to improperly withhold
 8   agency records concerning a proposed drone test flight over the City of San Diego
 9   that could take place as soon as the summer of 2020. Such a flight would be the
10   first time that a large military-grade unmanned aircraft with a wingspan of 79 feet
11   and weighing 12,500 pounds will fly in civilian airspace over a major U.S. city. In
12   spite of repeated efforts to learn information about this matter of substantial public
13   interest, the FCC and the FAA have failed to produce a single record – unlawfully
14   withholding information in violation of their duties under FOIA.
15         2.     The Freedom of Information Act "focuses on the citizens' right to be
16   informed about 'what their government is up to,'" by requiring the release of "[ o]
17   fficial information that sheds light on an agency's performance of its statutory
18   duties." DOJ v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 750, 773
19   (1989) (citation omitted). "[D]isclosure, not secrecy, is the dominant objective" of
20   FOIA. Dep't of Interior v. Klamath Water Users Protective Ass 'n, 532 U.S. 1, 8,
21   (2001) (internal quotation marks and citations omitted). VOSD plays a critical role
22   in providing information to citizens about "what their government is up to." Indeed,
23   the First Amendment's guarantee of freedom of the press is meant to enable
24   journalists to play an "essential role in our democracy," to "bare the secrets of
25   government and inform the people." New York Times. Co. v. United States, 403
26   U.S. 713, 717 (1971) (Black, J. concurring).
27         3.     Through its FOIA Requests, VOSD seeks to fulfill its journalistic
28   function and to shine a public light on the federal government’s oversight of the
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 1   proposal to fly a military-grade drone in civilian airspace over the City of San
 2   Diego this summer.
 3         4.     VOSD is informed and believes that the FAA is the lead federal
 4   agency overseeing the proposed drone flight. See
 5   https://www.sandiegouniontribune.com/news/watchdog/story/2019-12-26/city-
 6   council-and-public-were-unaware-of-military-grade-drone-test-flight. For years,
 7   General Atomics, a local defense contractor, has developed and used variations of
 8   its drones as weapons and tools of surveillance overseas. The company’s drone is
 9   now being repurposed in the United States as a commercial aircraft. The proposed
10   test flight is now scheduled to take place sometime in 2020, as early as this
11   summer. See https://www.flightglobal.com/defence/mq-9b-to-demonstrate-
12   national-airspace-flight-above-san-diego/134715.article. In April, General Atomics
13   partnered with NASA to fly the drone over rural parts of Southern California to
14   demonstrate the drone’s surveillance capabilities and safety in the National
15   Airspace System. General Atomics CEO Linden Blue was quoted in a press release
16   saying, “Our work with NASA is opening the eyes of regulators to the safety and
17   utility of unmanned aircraft systems in the performance of certain tasks for public
18   and commercial good.” See https://www.ga.com/ga-asi-flies-skyguardian-in-so-
19   cal-nas-as-part-of-nasa-demonstration. Safety has been the primary concern around
20   this project and others. In 2018, regulators in the United Kingdom expressed
21   reservations about letting a General Atomic drone into their airspace. See
22   https://techcrunch.com/2020/03/09/the-risky-first-transatlantic-flight-of-a-reaper-
23   drone/. VOSD is informed and believes that when General Atomics initially sought
24   an experimental licensing permit for its drone, it was approved, but with some
25   modification. The FCC appears to have told the company that it couldn’t use certain
26   technology on board the drone for reasons that remain unclear. See Exhibit A. In
27   response, the company then filed another request. See Exhibit B. VOSD believes
28   that this request remains pending approval.
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 1         5.     VOSD believes that access to the records that it seeks from the FCC
 2   and the FAA about this drone program are essential to its readers and the public’s
 3   understanding of this program before the flight takes place as early as this summer.
 4         6.     There is particular public interest in this flight, not just because it is
 5   unprecedented and will open up civilian airspace, but because drone crashes are
 6   fairly common. In 2014, a U.S. Customs and Border Protection drone
 7   manufactured by General Atomics experienced a mechanical failure and was
 8   deliberately drowned in the ocean off San Diego. For approximately two minutes,
 9   the pilot lost contact with the drone, and a subsequent investigation would show
10   that a total of 18 General Atomics drones had failed over the previous nine months
11   due to problems with the starter-generator. See
12   https://www.voiceofsandiego.org/wp-content/uploads/2020/05/CBP-Mishap-
13   Report-2014-Crash.pdf.
14                                       II.   PARTIES
15         7.     VOSD is a non-profit news organization organized under the laws of
16   the State of California with its principal place of business in San Diego County.
17   VOSD was founded in 2005 by San Diego Union-Tribune columnist Neil Morgan
18   and entrepreneur Buzz Woolley. VOSD is known for both its news coverage and
19   local investigative reporting. It has been the recipient of a number of journalism
20   awards.
21         8.     The Federal Communications Commission is a federal agency within
22   the meaning of 5 U.S.C. § 552(f). Plaintiff is informed and believe that the FCC
23   has possession and control of the records sought by the Request.
24         9.     The Federal Aviation Administration, a division of defendant the U.S.
25   Department of Transportation, are both federal agencies within the meaning of 5
26   U.S.C. § 552(f). Plaintiff is informed and believe that the FAA has possession and
27   control of the records sought by the Request.
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 1                                III.    JURISDICTION
 2         10.    This Court has subject-matter jurisdiction over this action and personal
 3   jurisdiction over the parties under 5 U.S.C. § 552(a)(4)(B), 5 U.S.C. §§ 701-706,
 4   and 28 U.S.C. § 1331.
 5                                       IV.   VENUE
 6         11.    Venue in the Southern District of California is proper under 5 U.S.C. §
 7   552(a)(4)(B) as VOSD has its principal place of business in San Diego County and
 8   the Request was made in San Diego County. For the same reason, venue also is
 9   proper under 28 U.S.C. § 1391(e).
10                                        V.   FACTS
11         12.    A FOIA request submitted on March 21, 2020 and submitted through
12   the FAA’s online site from Jesse Marx, Associate Editor, on behalf of the VOSD,
13   requested:
14
          Any and all applications filed by either General Atomics Aeronautical
15 Systems, NASA, the San Diego Regional Economic Development Corporation, the
   city of San Diego or the Integrations Pilot Program proposing and seeking
16
   permission to test drone technologies in the skies of California. I am also requesting
17 any and all responses to those applications.

18       Any and all communications between FAA employees and General Atomics
19 Aeronautical Systems representatives about a proposed drone test over California.
   Keywords and phrases could include but are not limited to “General Atomics,”
20 “GA,” “SkyGuardian,” “Predator,” “Protector,” “drone,” “TCAS,” “detect and

21 avoid.”

22         Any and all communications among FAA employees about a proposed drone
23
   test in the skies California involving General Atomics Aeronautical Systems and
   NASA. Keywords and phrases could include but are not limited to “General
24 Atomics,” “GA,” “SkyGuardian,” “Predator,” “Protector,” “drone,” “TCAS,”

25
   “detect and avoid.”

26   Attached as Exhibit C is a true and correct copy of the Request.
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 1         13.    As part of its request, VOSD offered to pay up to $100 for costs
 2   associated with this request. The VOSD also requested a waiver or reduction of
 3   fees given the public nature of its request and for the expedited processing of its
 4   request given the announced timing of the proposed drone flight. See Id.
 5         14.    The same day, VOSD made the identical FOIA request (and fees
 6   waiver and requested for expediting processing) to the FCC. Attached as Exhibit D
 7   is a true and correct copy of its Request.
 8                    The FCC’s Handling of VOSD’s FOIA Request
 9         15.    On March 30, 2020, the FCC denied VOSD’s request for expediting
10   processing of its FOIA request.
11         16.    On April 20, 2020, the FCC’s Office of Engineering and Technology
12   asked VOSD to narrow its FOIA request. In an email response sent on April 21,
13   2020, at 5:26 p.m., on behalf of VOSD, Mr. Marx explained: “The records I seek
14   are related to the unmanned aerial vehicle, or drone, test flights conduced since Jan.
15   1, 2018, by General Atomic over the skies of Southern California (spanning either
16   Los Angeles, San Diego, Orange, Riverside, Imperial or San Bernardino counties).
17   It’s my understanding that these flights required special approval by the FCC
18   because of the technology the company was proposing to put into the air. I’ve found
19   a series of experimental licensing permit requests by the company’s representatives
20   on the FCC’s website, including these three:
21         https://apps.fcc.gov/oetcf/els/reports/STA_Print.cfm?mode=initial&applicati
22         on_seq=98484&RequestTimeout=1000
23         https://apps.fcc.gov/oetcf/els/reports/STA_Print.cfm?mode=current&applicat
24         ion_seq=99089&RequestTimeout=1000
25         https://apps.fcc.gov/els/GetAtt.html?id=248163&x=
26   Hopefully that helps provide the agency with the necessary context to complete my
27   request. If you still believe my request is too broad, please explain your
28   methodology for producing records and how you anticipate in advance that a
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 1   substantial portion of those records will be non-responsive. The time for processing
 2   this request has expired. Unless we’re notified that you’re planning to produce the
 3   records immediately, we will be exercising our rights under the Freedom of
 4   Information Act.”
 5         17.    On April 30, 2020, through an email, the FCC denied VOSD’s fee
 6   waiver request. The VOSD has received no further update from the FCC since this
 7   email and no documents have been produced in response to VOSD’s FOIA request.
 8                    The FAA’s Handling of VOSD’s FOIA Request
 9         18.    On April 6, 2020, the FAA acknowledged receipt of VOSD’s FOIA
10   request but denied VOSD’s requests for a fees waiver and expedited processing. In
11   an email sent to the FAA on May 5, 2020, on behalf of VOSD, Mr. Marx told the
12   FAA that he disagreed “with your decision to deny my request for fee waiver and
13   expedited processing” and he again “asserted the fact that I’m a professional
14   journalist. The records I seek are both timely and relevant and very much in the
15   public interest as they related to an unmanned aerial vehicle, or drone, test flight
16   that had been scheduled over the San Diego metro this summer and that will open
17   civilian airspace to commerce purposes across the country. It is historic and further
18   delay jeopardizes the public’s right to know what is occurring overhead. Hopefully
19   this helps provide the agency with the necessary context to complete my request.
20   The time for processing this request has expired. Unless my associates and I are
21   notified that you’re planning to produce the records immediately, we will be
22   exercising our rights under the Freedom of Information Act.”
23         19.    On May 6, 2020, in an email to Mr. Marx, the FAA acknowledged
24   receipt of his FOIA May 4, 2020 FOIA request and informed Mr. Marx that his
25   request was assigned to the FAA’s UAS Integration Office in Washington, D.C.
26         20.    On May 7, 2020, on behalf of VOSD, Mr. Marx wrote to the FAA and
27   requested an update on his FOIA request. On May 8, 2020, Sammie B. Jones, Jr., a
28   Business & Planning Analyst with the FAA responded. He responded: “your
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 1   current request requires a broad search and will capture a substantial number of
 2   records, possibly causing an extensive processing delay. For this reason, we ask
 3   that you clarify and/or narrow the scope of your request.” In an email response sent
 4   the same day, Mr. Marx provided the FAA with the same information that he
 5   provided the FCC on April 20, 2020. See ¶ 16.
 6         21.    Through a letter dated May 13, 2020, the FAA informed Mr. Marx that
 7   his FOIA request has been “additionally assigned” for action to the FAA/Air Traffic
 8   Organization in Washington, D.C. After receiving this correspondence, Mr. Marx
 9   made follow-up phone calls and emails to the assigned FOIA Coordinator identified
10   in the letter, but the coordinator did not return any of Mr. Marx’s messages or
11   emails other than to confirm in an email dated May 19, 2020, that the FAA had
12   received the additional context referred to in paragraph 20.
13         22.    On May 19, 2020, on behalf of the FAA, Ms. Elena Richardson
14   informed Mr. Marx in an email that the agency would provide a response to his
15   request on or before June 26, but would not confirm whether any responsive
16   documents would be produced by the agency. On May 28, Mr. Marx received an
17   email from FOIA Management Specialist Judy Shipp informing him that his request
18   had been assigned to yet another coordinator and office—this one in Kansas City,
19   Missouri. Meantime, no documents have been produced in response to VOSD’s
20   initial FOIA request.
21         23.    As of the filing of this Complaint, months have elapsed since VOSD
22   transmitted its Requests. Because Defendants have failed to comply with the 20-
23   business-day time limit provision of FOIA, 5 U.S.C. § 552(a)(6)(A)(i), VOSD is
24   deemed to have exhausted its administrative remedies with respect to its FOIA
25   Requests under 5 U.S.C. § 552(a)(6)(C)(i).
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 1                            VI.        FIRST CLAIM FOR RELIEF
 2                                        (Violation of FOIA)
 3         24.      VOSD incorporates by reference the foregoing paragraphs of this
 4   Complaint as though fully set forth herein.
 5         25.      The FCC and the FAA have a legal duty under FOIA to determine
 6   whether to comply with a request within 20 days after receiving the request, and
 7   also has a legal duty to immediately notify the requester of the agency's
 8   determination and the reasons therefor. VOSD has a legal right under FOIA to
 9   obtain the agency records they sought in their Request, and there exists no legal
10   basis for the FCC and FAA’s failure to make these records available on an
11   expedited basis, particularly when the proposed drone flyover is set to take place as
12   early as this summer.
13         26.      The FCC and the FAA’s failure to make promptly available the records
14   sought by the Request violates FOIA, 5 U.S.C. § 552(a)(3)(A) and (a)(6)(A)(ii), and
15   applicable regulations promulgated thereunder.
16                                VII.     PRAYER FOR RELIEF
17         WHEREFORE, VOSD requests the Court award them the following relief:
18               A. Declare that the FCC violated FOIA in its response to VOSD's FOIA
19                  request, its request for a fee waiver and its request for expedited
20                  processing;
21               B. Declare that the FAA and the DOT violated FOIA in their response to
22                  VOSD’s FOIA request, its request for a fee waiver and its request for
23                  expedited processing;
24               C. Order the FCC to immediately disclose the requested records to VOSD
25                  and enter an injunction prohibiting the FCC from continuing to
26                  withhold the requested records;
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 1            D. Order the FAA and DOT to immediately disclose the requested records
 2               to VOSD and enter an injunction prohibiting the FAA and DOT from
 3               continuing to withhold the requested records;
 4            E. Award VOSD its reasonable costs and attorney's fees;
 5            F. Grant such further relief as the court may deem just and proper.
 6

 7   Dated: May 29, 2020                           Respectfully submitted,
 8                                                 DAVIS WRIGHT TREMAINE LLP
 9
10                                                 By: /s/ Thomas R. Burke
                                                   THOMAS R. BURKE
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12                                                 Attorneys for Plaintiff
                                                   VOICE OF SAN DIEGO
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